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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE



 In re:                                                              Chapter 11

 ASHINC Corporation, et al.1,                                        Case No. 12-11564 (CSS)
                                                                     (Jointly Administered)
                                     Debtors.


 CATHERINE E. YOUNGMAN, LITIGATION                                   Adv. Proc. No. 13-50530 (KBO)
 TRUSTEE FOR ASHINC CORPORATION, ET.
 AL., AS SUCCESSOR TO THE OFFICIAL
 COMMITTEE OF UNSECURED CREDITORS OF
 ASHINC CORPORATION, AND ITS AFFILIATED                              Ref. Docket Nos. 339, 364, 373, 393,
 DEBTORS                                                             401, 409, 419, 422, 446, 480, 515,
                                                                     590, 645, 674, 680, 684, & 736
                   Plaintiff,

 BLACK DIAMOND OPPORTUNITY FUND II, LP,
 BLACK DIAMOND CLO 2005-1 LTD., and
 SPECTRUM INVESTMENT PARTNERS, L.P.,

                   Intervenors,

                            v.

 YUCAIPA AMERICAN ALLIANCE FUND I, L.P.,
 YUCAIPA AMERICAN ALLIANCE (PARALLEL)
 FUND I, L.P., YUCAIPA AMERICAN ALLIANCE
 FUND II, L.P., YUCAIPA AMERICAN ALLIANCE
 (PARALLEL) FUND II, L.P., MARK
 GENDREGSKE, JOS OPDEWEEGH, JAMES



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   The Debtors in these cases, along with the federal tax identification number (or Canadian business number where
applicable) for each of the Debtors, are: ASHINC Corporation (f/k/a Allied Systems Holdings, Inc.) (XX-XXXXXXX);
AAINC Corporation (f/k/a Allied Automotive Group, Inc.) (XX-XXXXXXX); AFBLLC LLC (f/k/a Allied Freight Broker
LLC) (XX-XXXXXXX); ASCCO (Canada) Company (f/k/a Allied Systems (Canada) Company) (XX-XXXXXXX); ASLTD
L.P. (f/k/a Allied Systems, Ltd. (L.P.) (XX-XXXXXXX); AXALLC LLC (f/k/a Axis Areta, LLC) (XX-XXXXXXX); AXCCO
Canada Company (f/k/a Axis Canada Company) (875688228); AXGINC Corporation (f/k/a Axis Group, Inc.) (58-
2204628); Commercial Carriers, Inc. (XX-XXXXXXX); CTSINC Corporation (f/k/a CT Services, Inc.) (XX-XXXXXXX);
CTLLC LLC (f/k/a Cordin Transport LLC) (XX-XXXXXXX); F.J. Boutell Driveway LLC (XX-XXXXXXX); GACS
Incorporated (XX-XXXXXXX); Logistic Systems, LLC (XX-XXXXXXX); Logistic Technology, LLC (XX-XXXXXXX); QAT,
Inc. (XX-XXXXXXX); RMX LLC (XX-XXXXXXX); Transport Support LLC (XX-XXXXXXX); and Terminal Services LLC (91-
0847582). The location of the Debtors’ corporate headquarters and the Debtors’ address for service of process is 2302
Parklake Drive, Bldg. 15, Ste. 600, Atlanta, Georgia 30345.


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 FRANK, DEREX WALKER, JEFF PELLETIER,
 IRA TOCHNER, and JOSEPH TOMCZAK,

                Defendants.

 CATHERINE E. YOUNGMAN, LITIGATION                      Adv. Pro. No. 14-50971 (KBO)
 TRUSTEE FOR ASHINC CORPORATION, ET AL.,
 AS SUCCESSOR TO BLACK DIAMOND
 OPPORTUNITY FUND II, LP, BLACK DIAMOND
 CLO 2005-1 LTD., SPECTRUM INVESTMENT                   Ref. Docket Nos. 24, 85, 102, 116,
 PARTNERS, L.P., BLACK DIAMOND                          181, 207, 217, 221, 239, 267, 293,
 COMMERCIAL FINANCE, L.L.C., as co-                     356, 402, 438, 444, 448, & 486
 administrative agent, and SPECTRUM
 COMMERCIAL FINANCE LLC, as co-
 administrative agent,

                              Plaintiff,

 v.

 YUCAIPA AMERICAN ALLIANCE FUND I, L.P.,
 YUCAIPA AMERICAN ALLIANCE (PARALLEL)
 FUND I, L.P., YUCAIPA AMERICAN ALLIANCE
 FUND II, L.P., YUCAIPA AMERICAN ALLIANCE
 (PARALLEL) FUND II, L.P., RONALD BURKLE,
 JOS OPDEWEEGH, DEREX WALKER, JEFF
 PELLETIER, IRA TOCHNER, and JOSEPH
 TOMCZAK,

                              Defendants.


                      AGREED AMENDED SCHEDULING ORDER
   To promote the efficient and expeditious disposition of the above-captioned adversary
proceedings (the “Adversary Proceedings”),

IT IS HEREBY ORDERED that:
        1.     Applicability to Adversary Proceeding No. 13-50530 and Adversary

Proceeding No. 14-50971. This Amended Scheduling Order shall govern both Adversary

Proceedings No. 13-50530 and No. 14-50971.

        2.     Extensions of Deadlines for Responsive Pleadings. Any extension of time to file

a responsive pleading is not effective unless approved by Order of the Court. Any motion for


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extension of time to file a responsive pleading or stipulated order for such an extension must be

filed with the Court no later than ten (10) days before the Initial Scheduling Conference in the

Adversary Proceedings.

        3.       Fact Discovery. All fact discovery, including the depositions of fact witnesses,

shall be completed no later than July 26, 2019.

        4.       Expert Discovery. The parties shall provide affirmative expert reports, if any, no

later than September 27, 2019. Any party’s expert report intended to rebut any other expert report

shall be provided no later than November 12, 2019. All reports shall provide the information

required by Fed. R. Civ. P. 26(a)(2)(B). All expert discovery including expert depositions shall

be completed, and discovery shall close, on December 20, 2019; provided, however, solely with

respect Jonathan R. Macey and Yvette R. Austin Smith, expert discovery shall be completed on

January 10, 2020.

        5.       Dispositive Motion Schedule. All dispositive motions shall be filed and served

according to the following briefing schedule, and shall be subject to Rule 7.1.2 of the Local Rules

of Civil Practice and Procedure of the United States District Court for the District of Delaware2:

                 5.1     Opening briefs due May 1, 2020;

                 5.2     Opposition briefs due July 17, 2020;

                 5.3     Reply briefs due August 17, 2020.

        6.       Dispositive Motion Page Limits. Yucaipa shall have up to 80 pages combined

for their dispositive motion(s), to be allocated in Yucaipa’s discretion; the Trustee shall have

a total of 80 pages combined to oppose Yucaipa’s dispositive motion(s); and Yucaipa shall




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  Bolded and Underlined dates have been updated from this Court’s May 29, 2020 scheduling order entered in
these cases.


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have up to 40 pages combined for their reply (or replies). Dispositive motions filed by any

other party shall be subject to the following page limits: up to 40 pages for dispositive

motions; up to 40 pages for oppositions; and up to 20 pages for replies.

        7.     Status Conference. The Court shall set a conference to take place within sixty (60)

days after the close of discovery, or as soon thereafter as the Court’s schedule permits.

        8.     Status Updates. The Plaintiffs shall immediately notify Chambers upon the

settlement, dismissal, or other resolution of any adversary proceeding subject to this Order and

shall file with the Court appropriate evidence of such resolution as soon thereafter as is feasible.

The Plaintiffs in each of the Adversary Proceedings shall file a status report forty-five (45) days

after the date of this scheduling order, each forty-five (45) days thereafter, and thirty (30), twenty

(20), and ten (10) days prior to trial, setting out the status of each unresolved adversary proceeding

subject to this Order. The Plaintiffs in each of the Adversary Proceedings shall immediately advise

Chambers, in writing, of any occurrence or circumstance which such Plaintiffs believe may suggest

or necessitate the adjournment or other modification of the trial setting.

        9.     Extension of Deadlines. Deadlines in this Scheduling Order may be extended only

by the Court and only upon written motion for good cause shown.




   Dated: June 25th, 2020                              KAREN B. OWENS
   Wilmington, Delaware                                UNITED STATES BANKRUPTCY JUDGE

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